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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORI
MIAMI DIVISION
Case No.: 03-21063-CIV-Altonaga/Bandstra

  

MAR $4 20.3 :

EDb
INTAKE

  

DAVID ALLEN,
Plaintiff c cree E \ "t ae “ ;
$.D. oF Fra -tsts
VS.

CITY OF MIAMI, a Municipal corporation
in Miami-Dade County, State of Florida, et. al

Defendants.
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PLAINTIFF’S STATEMENT OF FACTS IN SUPPORT OF PLAINTIFF’S RESPONSE
TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AND SUPPORTING
MEMORANDUM OF LAW

NOW COMES the Plaintiff, by and through his undersigned attorneys and hereby files a
statement of facts in support of Plaintiffs Response to Defendants’ Motion for Summary

Judgment and Memorandum of Law, and in support thereof says as follows.

LOCAL RULE 7.5 STATEMENT OF MATERIAL FACTS
INTRODUCTION

The Plaintiff will set forth facts concerning the subject incident, prior incidents of
excessive force judicially determined to be unconstitutional, unconstitutional practices within the
Miami police department as well as the career records of not only officers involved herein, but
officers from the same crime unit that was involved in the David Allen shooting. The Court
might inquire why facts about other shootings, career records of officers not involved in this case
and certain other practices that have been happening in the City of Miami for the past 20 years
are included. The answer is that the Plaintiff is under an obligation to present to this Court facts
that the custom and practice of the Miami police department was to allow its officers to use
excessive force despite actual and constructive knowledge of the abuses and allow the same to
go on for many years. The facts that follow concern an incident that occurred on July 27, 2000.

On that date, David Allen stopped his truck on Williams Avenue to urinate. Defendants Tapanes

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and Camacho were working a drug sting operation and had arrestee Christopher Jones in the
back seat. Tapanes and Camacho were traveling the opposite way on Williams Avenue when
they noticed Allen standing in the opening of his truck door. Camacho backed his vehicle up and
got next to the Plaintiff's truck. Tapanes jumped out of the unmarked car and for no apparent
reason fired three rounds at Allen.

At that time, the homicide division was always assigned to investigate police officer
involved shootings. A cover-up ensued that involved filing a false and misleading police report,
planting a weapon in Allen’s truck and suborning the perjury of witness Christopher Jones in
exchange for his release on obstruction of justice charges.

1. On July 27, 2000, Plaintiff, David Allen (“Allen” or “Plaintiff’), consumed a
couple of beers and left for home at about 5:00 p.m. (Allen Deposition-civil case p. 55). On the
way to his destination Mr. Allen had to urinate. Mr. Allen stopped his pick-up truck on Williams
Avenue. Mr. Allen pulled his truck into a parking spot right next to the curb, got out of his truck
and stood in the opening of his door to relieve himself. (Allen Dep. civil case p. 56).

2. At or about that time City of Miami plainclothes police Officers Pablo Camacho
and Lionel Tapanes while working a reverse sting drug operation were driving in an unmarked
vehicle on Williams Avenue in the opposite direction to Allen and were also transporting
arrestee Christopher Jones. (Tapanes Dep.-civil case, p. 32, II. 2-15, p. 41, Il. 10-12, p. 42, Il. 7-
11, p. 47, ll. 6-2).

3. Witness Sharayne Milton gave a taped sworn statement to the Miami Police on
July 27, 2000, a deposition in the criminal case, pertaining to Allen and a deposition in this case.
After the incident she made a comment to officer Tapanes who said to another officer words to
the effect of “damn I messed up.” (Milton Dep. civil case p. 19, Il. 21-25, p. 20, Il. 1-11, and
Dep. criminal case p. 42). In her sworn statement to the Miami Police, her deposition in the
criminal case and her deposition in this case Ms. Milton testified that Allen’s truck was not
moving when Tapanes fired the first shot (Milton sworn statement p. 7, IJ. 12-18, Dep. criminal
case, p. 21, Il. 7-10, Dep. civil case, p. 13 I]. 1-10).

4, In her criminal deposition Ms. Milton testified that she did not see any badges and
only noted that Tapanes had on a t-shirt that had police printed on the back of the shirt. (Milton
Dep. criminal case p. 17, ll. 6-19, Dep. civil case p. 10, Il. 5-23, p. 16, Il. 16-25, p. 17, Il. 1-18).
Ms. Milton testified that other than hearing the word “[F]reeze” she heard nothing from the
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police officers. (Milton Dep. criminal case, p. 18, Il. 1-7, Dep. civil case, p. 14, Il. 8-12). Ms.
Milton testified in her depositions that she heard three shots fired. (Milton Dep. criminal case, p.
19, Il. 9-13, Dep. civil case, pp. 11-15). Ms. Milton with the use of a diagram testified that
Tapanes got out of his car and shot over the hood of his car into Allen’s truck when the truck was
not moving. (Milton Dep. criminal case, p. 21, Il. 1-10, Dep. civil case, p. 12, ll. 1-25). (See
attached diagram Exhibits 1 and 2.) At both depositions Ms. Milton testified that she also saw
Allen put his hands up as to indicate he had no weapon. (Milton Dep. criminal case, p. 22, Il. 11-
21, Dep. civil case, p. 19 Il. 3-5). Ms. Milton testified that Tapanes fired the third shot at the
back of the truck. (Milton Dep. criminal case p. 34, Il. 1-25, p. 35, ll. 1-6, Dep. civil case p. 16,
and p. 18, I]. 11-19). Ms. Milton testifies in her deposition that Tapanes fired the first shot from
the passenger side of the car he was occupying crossing that car to the truck. (Milton Dep.
criminal case p. 40, I. 7-10).

5. Witness Phyllis Taylor gave a sworn statement to Miami Police and a deposition
in the criminal case. At her deposition Ms. Taylor confirmed that when Camacho backed up his
vehicle towards Allen, Camacho had his gun drawn and hanging out of the car. (Taylor Dep.
criminal case, pp. 16-17, ll. 20-25 and 1-22, respectively and sworn statement p. 5, Il. 3-23).
Ms. Taylor testified that both officers were in plain clothes and in an unmarked car and at no
time identified themselves as police officers. (Taylor Dep. criminal case, p. 23, II. 5-19). Ms.
Taylor testified that she heard three (3) shots fired. (Taylor Dep. criminal case, p. 29, Il. 1-8).
Taylor testified that Tapanes was at the back bumper on the passenger side of his vehicle when
he fired the first shot. (Taylor Dep., criminal case, p. 30, I]. 1-6). Ms. Taylor testified that when
the first shot was fired Allen’s truck was never close to hitting the passenger of the car, namely
Tapanes. (Taylor Dep. criminal case, p. 30, 1. 25, p. 31, Il. 1-3, p. 35, Il. 10-12, and sworn
statement p. 11, Hl. 18-20).

6. Witness Ira Davis testified that there were three (3) shots fired, that the truck was
not moving when the first shot was fired and that Tapanes was not in danger of being run over
when the first shot was being fired. (Davis Dep. civil case, p. 7, Il. 1-25, p. 8, Il. 1-22). Davis
testified that this is what she told the City of Miami when she was debriefed (Davis Dep. civil
case, p. 12, Il. 15-23). Attached hereto and marked as Exhibit 3, copy of what the City of Miami
wrote down concerming what Ira Davis saw. The City of Miami left out that the vehicle was not

moving and that Officer Tapanes was not in any danger of being run over.
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7. Tapanes testified that his only basis to use deadly force was the imminent
threat/fear of being run over by Allen. (Tapanes sworn statement p. 10, Il. 1-3, Tapanes Dep.

civil case p. 76, Il. 21-25).

DISPUTED MATERIAL FACTS AS TO COVER-UP

8. Attached hereto and marked as Exhibit 4 is a copy of a report prepared by
Defendant Nelson Andreu. That report concludes that Tapanes use of deadly force was justified
as “all witnesses with slight variation” told the same story as Tapanes. (Exhibit 4, p. 8).

9. At the time of the subject incident Defendants Camacho and Tapanes had arrestee
Christopher Jones in the back seat of their vehicle. Jones had been arrested for obstruction of
justice and was being transported at the time of this incident. (Tapanes Dep., civil case, p. 37, Il.
2-25). The Nelson Andreu report states that Christopher Jones supported Tapanes’s theory that
deadly force was justified because Tapanes was in danger of being run over. (Exhibit 4, p. 7).

10. Now retired Miami police officer Jack Calvar initially interviewed Christopher
Jones at the time of this incident. Calvar testified that he learned at the scene that it was a police
involved shooting with plainclothes officers in an unmarked car. (Calvar Dep., civil case, p. 11,
ll. 4-14). Calvar testified to taking the statement of Christopher Jones. (Calvar Dep., civil case,
p. 21, Il. 11-15). At his deposition in this case Defendant Calvar testified that Christopher Jones
was “a very important witness in this case”. (Calvar Dep., civil case, p. 21, II. 16-25, p. 22, Il. 1-
12). Calvar went on to testify that after he took the statement of Christopher Jones and then
Jones was taken to jail. (Calvar Dep., civil case, p. 29, |. 4-6).

11. At his sworn statement in the criminal case Christopher Jones stated that Allen
tried to run over Tapanes. (Jones sworn statement, p. 5, Il. 1-2).

12. At his deposition Jones testified that he tried to explain to his interviewer, Jack
Calvar, that Tapanes shot David Allen for no reason; however Jones was convinced not to give a
statement to that effect in exchange for Jones’s release on the obstruction of justice charge.
(Jones Dep., civil case, p. 10, Il. 10-25, p. 11, Il. 1-25, p. 12, Il. 1-13). Jones explained that as
soon as he gave the untruthful testimony Jones was released and eventually nolle prossed for the
obstruction of justice charge. Attached hereto and marked as Exhibit 5 is a copy of Jones’s
criminal record which confirms Jones’s testimony that the obstruction of justice case was

dropped. Attached hereto marked Exhibit 6 is a letter from the state attorney’s office stating that
 

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there is no file for Christopher Jones for July 27, 2000 for the obstruction charge. The City of
Miami was asked to produce jail records documenting Jones’s arrest, but did not do so because
such records do not exist. (Jones Dep., civil case, p. 13, II. 1-25, p. 14, Il. 1-25, p. 15, Il. 1-25, see
also, Calvar Dep., civil case, p. 29, Il. 1-25, p. 30, Il. 1-8). See Exhibit 7, Affidavit of Curtis
King, investigator.

13. At his deposition Jones confirmed that Camacho had his gun pulled out
immediately. (Jones Dep., civil case, p. 7, Il. 5-12). Jones testified that Allen appeared to leave
because from Jones’s it looked like a robbery. (Jones Dep., civil case, p. 8, Il. 1-6).

14. Christopher Jones testified at his deposition in this case that Tapanes shot Allen
for no reason and that Tapanes was not in any danger of being run over by Allen. (Christopher
Dep., civil case, p. 8, II. 1-21).

15, Sharayne Milton testified at her deposition in this case that she saw Christopher
Jones on the evening of July 27, 2000, and that Jones told her that the police told him [Jones]
that they were going to let him go if he [Jones] said that David Allen tried to run over Tapanes.
(Milton Dep., civil case, p. 23, Il. 19-25, p. 24, I. 1-3).

16. | The City of Miami tried to intimidate witness Sharayne Milton and convince her
not to testify that Allen was not trying to run over Tapanes. (Milton Dep., civil case, p. 24, Il.
15-25, p. 25, ll. 1-6). Ms. Milton testified that her interviewer kept turning off the tape recorder
whenever she stated that Tapanes shot Allen for no reason or that three shots were fired. (Milton
Dep., civil case, p. 25, Il. 22-25, p. 26, Il. 1-3).

17. During Sharayne Milton’s trial testimony in the criminal case she stated that she
overheard Tapanes and another Miami police officer that she recognized from the scene as a
Chinese man, discussing the case. Milton testified at her deposition that Tapanes asked the
Chinese officer about bullets. Tapanes was reassured “not to worry about it”. (Milton Dep.,
civil case, p. page 27, Il. 1-25, p. 28, Il. 1-19).

18. That a third casing was found at the scene and analyzed, the report states that the
casing cannot be eliminated as to one from Defendant Tapanes’s gun. (See Exhibit 8 Lab
report).

19. Based on the incident of July 27, 2000, David Allen was tried for assault with a
deadly weapon a charge of which he was acquitted. (See Exhibit_9).
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DISPUTED MATERIAL FACTS REGARDING
CITY OF MIAMI’S ATTEMPT TO PLANT A GUN IN THIS CASE

20. Sometime after the incident, but before Mr. Allen was released, his pickup truck
was photographed and evaluated by the City of Miami. Several days after the incident and after
Mr. Allen’s release from hospital, evidence technician Fabrice Nelson went to Mr. Allen’s
house. Nelson did not call in advance, but rather simply drove to Mr. Allen’s house in his city
vehicle, pulled up, looked around and allegedly retrieved a clip or magazine from Mr. Allen’s
truck. (Nelson Dep., civil case, p. 80, Il. 10-25, p. 81, Il. 1-13). Nelson testified that this
magazine was retrieved from a plastic grill on Mr. Allen’s truck (Nelson Dep., civil case, p. 82,
ll. 1-8). Evidence technician Nelson did not fill out a report in connection to this occurrence nor
did he report it to a supervisor. (Nelson Dep., civil case, p. 82, Il. 12-25, p. 83, Il. 1-5).

2l. Nelson testified that dowel trajectory analysis showed one bullet was fired at a
right angle to the side window of Mr. Allen’s truck and a second shot was fired from the rear of
Allen’s truck. See photograph Exhibits 10, 11 & 12). (Nelson Dep., civil case, p. 39, Il. 1-25, p.
40, Il. 1-25, and p. 41, Il. 1-21).

DISPUTED MATERIAL FACTS AS TO THE CITY’S DELIBERATE INDIFFERENCE
TO THE CONDUCT OF ITS OFFICERS

22. Geoffrey Alphert, Ph.D, has worked for and testified as an expert for the City of
Miami. He gave a deposition in a lawsuit know as Alice Young personal representative of the
Estate of Antonio Alexander Young v. City of Miami et al, Case No. 99-2294-CIV-Martinez on
January 10, 2003. In that deposition Geoffrey Alphert quoted from his book that the problems of
the City of Miami began in the 1980s and continued into the 1990s. (Alphert Dep., p. 21, Il. 2-
25, p. 22, Il. 1-25, p. 23, Il. 1-25, p. 24, Hl. 1-6).

23. | The Grand Jury report that Doctor Alphert refers to is attached herein and marked
as Exhibit 13. As can be noted officials from the City of Miami at the highest levels were told
that as far back as the early 1980s, the City of Miami had a serious problem about police officer
involved shootings. See Grand Jury Report page 1. The report goes on to state that if an Official
violates the policy he must be reprimanded. (See Grand Jury report page Exhibit 13, p. 16).
 

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24. | The Grand Jury report also determined that the City of Miami had: “[P]laced
entirely too much emphasis upon weapons and the use of force in police training and far too little
emphasis on alternatives to the use of force.” (Exhibit 13, page 4).

25. In this case, the Firearms Advisory Board in February 2003 tried to reprimand
Tapanes and advised termination but the recommendation was not followed. (Exhibit 14, see
also Tapanes Dep., civil case, p. 21, ll. 5-24, p. 22, Il. 1-11).

26. Attached are Exhibits 15, 16 and 17: an indictment and two (2), superseding
indictments dated January 22, 2003 and February 18, 2004, respectively. They charged eleven
current and former City of Miami police officers with being part of a conspiracy to obstruct
justice and obstruction of justice by planting guns and lying about their actions in four different
officer involved shootings. (Exhibit 16). The charges related to four (4) police officer involved
shootings:

a. the November 7, 1995, fatal shooting of Antonio Young and Derrick
Wiltshire after they jumped from the I-395 overpass above North Miami Avenue (Exhibit 16, p.
3-4);

b. the March 12" 1996, fatal shooting of Richard Brown, a 72 year old man,
in his apartment at 1334 north west 7" Court (Exhibit 16, p. 4);

c. the April 13, 1996, shooting of Stephen Carter in the vicinity of 340 2"
N.W 43" Street (Exhibit 16, page 5);

d. the June 26, 1997, the shooting and wounding of Daniel Hoban, a
homeless man who was holding a walkman radio in coconut grove. (Exhibit 16, page 5).

27. All of the officers involved in the above incidents had worked for the Miami
police department’s Street Narcotics Unit (SNU) or Crime Suppression Team. Several of the
officers had also been members of the SWAT team. (Exhibit 16, page 2). As to the indictments a

federal jury convicted the following Miami police officers and for which verdict forms are

attached:
a. Israel Gonzalez
b. Arturo Beguiristain
c. Jose Quintero
d. Jorge Garcia
e. Jesus Aguero
 

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f. Oscar Ronda
g. Jorge Castello

h. Jose Acuna

See Exhibit 18 (a)-(h).

28. Two retired police officers from the Miami police department, William Hames
and John Mervolion had previously entered guilty pleas to conspiring with their fellow police
officers to obstruct justice and testified at the trial. (Exhibits 19 and 20).

29. Defendant Gonzalez, herein, took the Fifth Amendment at his deposition in this
case on substantive issues. (Gonzalez Dep., civil case, p. 17, Il. 1-15). Gonzalez detailed his
career with the Miami police department. (Gonzalez Dep., civil case, p. 5, II., 18-25, p. 6, Il. I-
25, p. 7, Il. 1-2, p. 9, Il. 21-25, p. 10, Hl. 1-9, p. 11, I. 8-24, p. 13, I. 13-25 and p. 14, Il. 1-7).
Defendant Gonzalez took the Fifth Amendment on his job responsibilities while in the Street
Narcotics Unit. (Gonzalez Dep. civil case, p. 10, ll. 1-25, and p. 11, lines 1-10).

30. Gonzalez was Lieutenant and Commander of the Homicide Division of the Miami
police department. That division was responsible for investigating police officer involved
shootings. (Gonzalez Dep., civil case, p. page 18, Il. 1-2).

31. Gonzalez testified that in his job as Executive Assistant to the Chief of Police,
Gonzalez was a liaison to Federal and International authorities and also oversaw the disciplinary
review board process. (Gonzalez Dep., civil case, p. 13, Il. 20-25 and p. 14, Il. 1-7). Gonzalez
held this position before this case but after the I-395 shooting. Gonzalez did testify that there is
only one person in the whole Miami Police Department who was in charge of the division that
investigates police officer involved shootings. (Gonzalez Dep., civil case, p. 17, Il. 23-25, p. 18,
ll. 1-2 and p. 19, II. 2-4).

32. It was learned that with regard to the David Allen shooting Defendant Gonzalez
was the lieutenant in charge of the homicide unit that did actual investigation and that Gonzalez
was in charge of all persons involved in the investigation. This responsibility included being the
recipient of all information gathered at the scene and being made aware of all witness statements.
(Christmas Dep., civil case, p. 23, Il. 15-25, pp. 24-26 and p. 27, Il. 1-11).

33. In April 2004, Gonzalez was convicted of perjury, conspiracy to obstruct justice

and obstruction of justice in connection with his role in the I-395 shooting. (Exhibit 16 and 18).
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34. Between 1984 and 2000 Defendant Gonzalez was the subject of thirty-eight
Internal Affairs investigations. (Exhibit 21 and 21a). Between 1996 and 2002 Defendant
Tapanes was the subject of twenty-nine Internal Affairs investigations. (Exhibit 22). Defendant
Camacho was the subject of five Internal Affairs investigations between 2000 and 2002.

(Exhibit 23). Investigator Aliva was investigated nine times between 1984 and 2002. (Exhibit
24).

35. William Hames testified at the criminal trial referred to as USA v. Acuna et al,
Case No. 01-208crGold, US District Court of Florida, Southern District (2003), on two
occasions. The so-called “I-395 shooting case” involved gun planting and then a meeting
thereafter that included Defendant Gonzalez, herein, where a conspiracy was hatched to cover-up
the true facts. (Hames trial testimony, p. 23, January 28, 2003, vol. 13). Hames testified that at
no time did he see guns at the scene of I-395 shooting yet guns were found. (Hames trial
testimony, pages 24-29, January 28 2003 volume 13). The whole business of gun planting had a
long history and its own vernacular. (Hames trial testimony, pages 17-19, January 28, 2003, vol.
13).

36. After the I-395 shooting officers Hames, Mervolion, Art Beguiristain, Jorge
Garcia, Jesse Aguero and Defendant Gonzalez herein, went to the Bar-B-Q Restaurant to make
up a story as to how the shooting victims had guns when in actuality they did not. (Hames trial
testimony, p. 16, ll. 20-25, and p. 17, ll. 1-17, January 28, 2003, vol. 13). Hames testified that
Defendant Gonzalez on the night of the I-395 shooting was a SNU Supervisor. (Hames trial
testimony, p. 194, Il. 22-24). Hames stated he was not worried about the other officers as they
all adhered to ‘a code of silence’ (Hames trial testimony, direct examination of Hames, pp. 186-
314, p. 243, Il. 17-25, p. 244, 1. 1).

37. | Hames also testified to facts on how Miami police department officers came to
know ‘throw down’. (Hames trial testimony, pp. 86-93, February 26, 2003, vol. 29). Hames
spoke of an event at the police range where he was working at the time in 1997. Hames was
asked by Jesse Aguero if he would take possession of a gun (model Astra) remove its finger
prints and return it to Aguero himself but if Hames wasn’t able to contact Aguero then he was to
return the gun to Acuna who at that time was Aguero’s supervisor/sergeant. (Hames trial

testimony, pp. 87-89, 90-93 and p. 154, Il. 4-17, February 26, 2003, vol. 29).
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38. Officer Burt Bell testified to an occasion where he was asked by Quintero if he
could get hold of a ‘sock’ (a/k/a a throw down) as at that time Bell was working at the range.
(Acuna, supra, Order, Gold, J. on Rule 801(D)(2)(e) Statements, p.6 and 85).

39. John Mervolion also testified at Acuna, supra, trial. Mervolion saw no guns on
the night of the I-395 shooting and that a meeting to conspire was held the next day. Defendant
Gonzalez, herein, attended. (Mervolion trial testimony, pp. 60-62, pp. 67-69, February 19, 2003,
vol. 25 and pp. 217, 256-262, February 18, 2003). Mervolion specifically testified that
Defendant Gonzalez was a supervisor and that he went along with the conspiracy’ and confirms
the [-395 conspiracy meeting (Mervolion trial testimony, p. 11, February 13, 2003).

40. Mervolion testified that Gonzalez said at the Bar B-Q restaurant meeting after the
1-395 shooting that the reason they were all there was to get on the same page. (Mervolion trial
testimony, page 257 lines 2-7, February 13, 2003).

41. Mervolion stated that Defendant Gonzalez, herein, was fully aware of a concern
that someone at some point may wear a wire to uncover the conspiracy (Mervolion trial
testimony, p. 277, February 13, 2003).

42. Mervolion specifically referred to how it was an unwritten rule that all officers
would “cover each others backs” (Mervolion trial testimony, pp. 275-276, February 13, 2003).

43. Mervolion testified that approximately a week prior to the 1-395 shooting, he and
Miami police officer Beguiristain were in the process of trying to arrest a robbery suspect and
that Beguiristain shot at the suspect. The suspect was caught and charged with armed robbery
but the subject did not have a gun; however Mervolion testified that when he was asked if the
subject had a gun, Mervolion lied and said ‘yes’. (Mervolion trial testimony, p. 265, Il. 24-25, p.
266, ll. 1-25, p. 267, Il. 1-25, February 13, 2003, and pp.74-77, February 19, 2003, vol. 25).
Mervolion testified to being asked if he had a “throw down” immediately after this incident by
his partner Art Beguiristain. (Mervolion trial testimony, p. 268, II. 2-15). In his testimony he
defines what is understood by a “throw down”, he states, “a gun that we keep in our cars at times
used to justify a shooting” (Mervolion trial testimony, p. 268, ll. 17-18, February 13, 2003). He
further testified that Miami police officers kept guns in their cars at times, which were used to

justify shootings. (Mervolion trial testimony, p. 265, ll. 19-25, p. 266-269, February 13, 2003).

 

' Defendant Gonzalez was head of the Homicide Unit of the Miami Police Department at the time of this incident).

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44. After the 1-395 shooting Mervolion testified that he took possession of a gun
under the premise to hold on to it in case it is needed. (Mervolion trial testimony, p. 285 Il. 10-
25, p. 286, Il. 1-25 and p. 287, ll. 1-25, February 13, 2003.)

45. Mervolion testified to another incident that involved a throw down gun which
happened April 13" 1996. (The Steven Carter gun planting referred to in paragraph 24, number 3
above). A situation had occurred wherein Mervolion was advised that “Jesse needs that gun”
referring to the gun given to him by Aguero previously. Eventually that gun was planted to
justify an arrest. (Mervolion trial testimony, pages 291-302 and page 303 lines 1-10. February
13"" 2003).

46. Mervolion testified about the gun planting at the Coconut Grove shooting
(Mervolion trial testimony, pp. 186 -188 and pp. 216, 218, February 26, 2003, vol. 29).

47. | Mervolion testified about an arrestee by the name of Carlos Diaz. Mervolion
testified that on that day he rode with Aguero but when they got to the location Mervolion
remained in the car Aguero came out with a jacket. Later investigation showed that a gun was
seized and not documented. (Acuna, supra, Order, Gold, J. on Rule 801 (D)(2)(e) Statements, pp.
58 and 59, Mervolion trial testimony, pp. 284, Il. 10-25, p. 285, I. 1-25, February 13, 2003).

48. Aguero told Mervolion not to say he rode with him (Aguero) as he could not get
linked to another gun. (Mervolion trial testimony, p. 304, Il. 23-26, pp. 305, ll. 1-15, pp. 284, Il.
10-25, pp. 285, ll. 1-25, February 13, 2003).

49. A gun was seized from suspect James Brown’s apartment but was not
documented or given back to Mr. Brown. (Acuna, supra, Order, Gold, J. on Rule 801 (D)(2)(e)
Statements, pp. 77-78 and p. 81). Mervolion stated that he had little to do with the arrest and he
did not seize property, however he did see Aguero carry a box downstairs. (Mervolion trial
testimony, pp. 227-229, February 26, 2003, vol. 29).

50. Mervolion testified that Ray Socorro who was the I.A investigator at the 1-395
shooting, had given a gun to Pepe Quintero prior to his transfer to the I.A department; it was this
gun that was used as the throw down. (Mervolion trial testimony, p. 262, Il. 5-25, and p. 263, Il.
1-2, February 13, 2003 and Grand Jury Testimony p. 99-04, p. 27-29, August 30, 2001).

51. Mervolion testified that all the officers “hung out” together and were friends on

and off duty. (Mervolion trial testimony, pp. 264, IJ. 12-25, p. 265, Il. 1-14, February 13, 2003).

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52. Attached and marked as Exhibit 25 is Plaintiff's previously marked deposition
Exhibit 30, which is an internal affairs investigation done when Frank Christmas was a
commander and an investigation in which Christmas was in charge. The Hoban case went
through a homicide investigation (like in this case) and all officers were cleared of wrong-doing.
Thereafter an internal investigation was conducted mostly at the urging of the federal
government which investigation found that the shooting of Hoban was not justified and that
evidence had been planted. (Christmas Dep., civil case, pp. 68-71, ll. 1-3). Eventually, after the
Allen incident, officials at the highest level of the City of Miami realized that the homicide unit
in charge of investigating police officer involved shootings was improperly investigating such
cases — this caused a change in the Miami police department. (Christmas Dep., civil case, p. 74
H. 21-25, p. 75, ll. 1-25 and p. 76, Il. 1-25). Christmas also testified that in at least four other
police involved shootings that predated the year 2000 homicide teams that investigated those
shooting, all officers were cleared of any wrong doing only to discover later that the police
involved shootings were tainted by evidence planting and the filing of false police reports.
(Christmas Dep., p. 78, ll. 1-17, p. 79, Il. 1-25 and p. 80, Il. 1-16).

53. Christmas also testified that the Miami police department never went back on an
internal affairs basis to conduct an investigation as to what the homicide unit did, how they
investigated their cases or how they came to their conclusions. (Christmas Dep., civil case, p. 80
I]. 18-23). Christmas confirmed the information pertaining to suspect/decedent Richard Brown in
his testimony that homicide did an investigation that later on proved to be faulty. (Christmas
Dep., civil case, p. 80, Il. 24-25 and p. 81, Il. 1-11).

54. Christmas testified that the homicide department investigated the shooting of Mr.
Hoban and concluded that it was a justified use of deadly force. Thereafter it was determined
that there was gun planting at the scene by police officers and that the use of force was
unjustified. (Christmas Dep., civil case, p. 83, Il. 1-25).

55. In this case even after Mr. Allen filed a complaint regarding the shooting, no

action to investigate this case made by the Miami police department. (Exhibit 26).
CAREERS OF OFFICERS IN THE MIAMI POLICE DEPARTMENT

56. Between 1984 and 2000, Defendant Gonzalez was the subject of thirty-seven

Internal Affairs investigations, seven of which were in response to abusive treatment, others

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included misconduct, discourtesy, harassment and improper procedure. Of the 38 cases
investigated, 5 were sustained, 6 were determined to be inconclusive, 4 were withdrawn, 2 were
found to be unsupported, | was classified as information only, Gonzalez was cleared of 10 and as
of report dated July 22, 2004, there were 10 incidents for which no disposition was indicated.
However, despite this extensive list, Gonzalez was promoted from sergeant to lieutenant, was
head of Homicide unit and remained a police officer until his indictment in 2001. See Exhibit
21 and 21a.

57. Between 1996 and 2002, Defendant Tapanes was the subject of 29 Internal
Affairs investigations, | was found to be sustained/filed, 1 was found as unsupported, 10 were
found as inconclusive and 15 were shown as cleared and 2 had no action written. See Exhibit 22.

58. | Defendant Camacho was investigated by Internal Affairs 5 times between 2000
and 2002, and of these incidents, 1 was sustained, 2 were cleared and 2 were found to be
inconclusive. See Exhibit 23.

59. Carlos Avila, the investigator in this case, was investigated by Internal Affairs 9
times between 1984 and 2002, and of these incidents, 1 was found to be sustained, 3 were found
to be cleared and 3 were filed with no disposition noted. (Exhibit 24).

60. Officers of the City of Miami conspired to and did use a “throw down weapon” to
legitimize heir shooting of Antonio Young. (Gold Order on Rule 801 (D)(2)(e) Statements, page
17 and 18). The City of Miami used “throw down weapons” to legitimize other shootings.
(Mervolion trial testimony, p. 265, Il. 19-25, p. 266-269, February 13, 2003).

61. Attached as Exhibit 27 are the Miami Police department’s Master shooting list
showing 232 intentional discharges of firearms between the years of 1990 — 2003 where there
was either no inquest or the shooting was found justified including the shooting of David Allen,
the I-395 shooting, Coconut Grove shooting and the 43" Street (Steven Carter) shooting.

62. Attached as Exhibit 28 (previously marked as “Government Exhibit 5” in Acuna

 

supra) is a report listing officer involved shootings from February 1990 through April 2001
indicating possible problems that are suggestive that the shooting might not have been justified,
but with a column indicating in most instances a finding of ‘justified’.

63. Defendant Gonzalez herein, and his co-conspirators from I-395 shooting all had

extensive Internal Affairs files. As sergeant in charge of the Street Narcotics Unit on the night of

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the Wiltshire and Young shootings” and thereafter having been promoted, Defendant Gonzalez
knew or should have known that Hames was the subject of five Internal Affairs investigations --
three were in response to allegations of excessive force. (Exhibit 29). Between 1983 and 1995,
Beguiristain was the subject of eight Internal Affairs investigations six of the eight were in
response to allegations of excessive force and/or abusive treatment. (Exhibit 30). Jose Garcia
was the subject of six Internal Affairs investigations four of which concerned allegations of
abusive treatment. (Exhibit 31). Jesus Aguero was the subject of at least eleven Internal Affairs
investigations five of which were in response to allegations of excessive force. (Exhibit 32).

64. The U.S. Department of Justice, civil rights division, conducted an investigation
of the Miami Police Department pursuant to the Violent Crime Control Law Enforcement Act of
1994 and reduced its findings to a memorandum directed to Miami City Attorney Alejandro
Vilarello. The investigation revealed that the Miami police department was not consistent in their
definition of the appropriate use of force and it failed to give guidance as to what constituted a
reasonable use of force. (Exhibit 33, pp. 1-4). It further states that the use of force reporting
was inadequate and likely to lead to under reporting on use of force, it also found that there was a
weakness in policy in governing supervisory roles in the use of force. (/d. at 11-12). The
investigation also found problems with accepting external complaints, in-take and tracking of
complaints and lastly it found that the Miami Police Department is not sufficiently aware in what

occurs in the training process. (Jd. at 17-20).

MEMORANDUM OF LAW

INTRODUCTION
As an introduction to his Memorandum of Law the Plaintiff went into great detail in the
fact section of this brief to demonstrate the abuses within the Miami police department of gun
planting, gun confiscation, conspiracy, a ‘code of silence’ and other instances of the unjustified
use of deadly force to show that these acts were pervasive and widespread and have been

occurring for many years. This, Plaintiff argues, is the custom that was the moving force behind

 

2 Reminding the Court that after the I-395 shooting and the conspiracy meeting Gonzalez was eventually promoted
to Assistant to the Chief and then to the head of the Homicide division, which was his position at the time of Mr.

Allen’s investigation.

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the constitutional violations that led to the deprivation of Plaintiff's constitutional rights.
Plaintiff further argues that it is these facts that are material and that the law demands denial of
this motion and submission of this case to a jury.

As this is the City of Miami’s Motion for Summary Judgment it can only be granted if
the pleadings, depositions, answers to Interrogatories and Admissions on file, together with
Affidavits, if any show that there is no genuine issue as to any material fact then and only then
can the motion be granted. Celotex Corp. v. Catrett, 477 U.S. 317, 106 S.Ct. 2548, 91 L.Ed. 265
(1986). The Court is compelled under the law to construe all facts and draw all reasonable
inferences in the light most favorable to the non moving party. Arrington v. Cobb County, 139
F. 3" 865, 871 (11" Cir.1998).

Although this Court is undoubtedly familiar with the dictates of Monell v. Department of
Social Services, 436 U.S. 658, 98 S.Ct. 2018, 56 L.Ed. 2d 611 (1978) and 42 USC §1983, it can

never hurt to embark on a brief review of the above statute and case. The Plaintiff understands

 

that this is not a case of respondeat superior but rather Monell, supra, held that only “customs” or
“policy” could lead to municipal liability. The Plaintiff brings to this argument considerable
proof not merely of this single isolated incident that the City of Miami had of failing to supervise
its officers and/or a custom and practice of covering up police officer involved shootings and/or
failing to adequately train its officers which in turn lead directly to and was the driving force
behind the violation of this Plaintiff's constitutional rights but rather a twenty year history of this
kind of conduct of which the City had knowledge at its highest levels.

It is elementary that when a police officer uses excessive force upon a citizen he violates
that persons Fourth Amendment rights. Herein, if Plaintiff's truck was not moving and Tapanes
was not in danger of being run over and Tapanes shoots Allen nonetheless the Plaintiff has
presented evidence to this Court that there was an underlying violation of the Plaintiff's
constitutional rights as a consequence of this July 27, 2000 occurrence.

This case is about more than inadequate training and supervision. These are elements to

be sure, however, as the court in Grandstaff v. City of Borger Texas, 767 F.2d 161 (1985) noted:

Where Police officers know at the time they act that their use of deadly
force in conscious disregard to the rights and safety of innocent third
parties will meet the approval of city policymakers, the affirmative
link/moving force requirement is satisfied. [15] That was the rationale of
this court in Languirand v. Hayden, 717 F.2™ 220 (5™ Cir.1983), cert.

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denied, --U.S.--, 14 S.Ct.2656, 81 L.Ed.2d 363 (1984). Conscious
indifference to widespread incompetence or misbehavior may be more
than a matter of extreme negligence and more than a failure to instruct or
train. If it is the deliberate police policy to demand instant compliance,
heedless of rights and risks, abuses i.e., incompetence and misbehavior-
will occur when officers of varying judgment and stability encounter
resistance. If unconfined the policy ordains use of the ultimate
compulsion, the firearm, upon any appearance of resistance and with only
imagined justification. That policy employs armed officers who subject
the public to the deprivation of their constitutional rights. Where the city
policymaker knows or should know that the city’s police officers are
likely to shoot to kill without justification and without restraint, so as to
endanger third parties, the city should be liable when the enviable occurs
and the officers do so. (p. 170).

The Plaintiff presents to this court deposition testimony, trial testimony and affidavits to
show that a genuine issue of material facts exists which would preclude summary judgment on
the Plaintiffs claim that on July 27, 2000, it was the custom in the City of Miami to improperly
use deadly force due to inadequate training and supervision and thereafter cover up the
unconstitutional act through various tactics including the filing of a knowingly false or of a
materially misleading police reports, failing to supervise and discipline police officers and to
tolerate acts of excessive force by its officers. All of these issues as well as deficient
Departmental Orders more particularly outlined in the U.S .Department of Justice report dated
March 13, 2003, and marked as Plaintiff's Exhibit 33, ultimately became the driving force
behind the violation of Plaintiff Constitutional rights.

In order for Plaintiff to proceed against the City of Miami under Monell, supra, the
Plaintiff must present evidence at this stage of the proceeding that there are material fact
questions showing that the Plaintiffs constitutional rights were violated. This the Plaintiff has
done. Officer Tapanes testified that the only reason that he used deadly force was because David
Allen was trying to run him over at the time of shooting. The Plaintiff has presented to this
Court testimony of four (4) witnesses that testified at various proceedings, that Tapanes was in
no danger of being run over by Mr. Allen and that the first shot fired was into the cab of Mr.
Allen’s truck when it was not moving. The Plaintiff has also come forth with further evidence
that after the shooting Defendant Nelson Andreu filed a materially false police report by stating
that with “slight variations” all civilian witnesses agreed with the Tapanes version of what

happened. The civilian witnesses including; Sharayne Milton, Ira Davis and Phyllis Taylor did

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not give slight variations about what happened but markedly different variations thus making the
submission of Andreu’s police report a violation of Plaintiffs constitutional rights. The Plaintiff
has also presented this Court with evidence that Defendant Calvar suborned the perjury of
civilian witness Christopher Jones in exchange for Jones release on obstruction of justice
charges. The Plaintiff has also set forth facts that on several occasions prior to July 27, 2000,
there were police officer involved shootings that were covered up, that guns were illegally
confiscated so as to facilitate instances of throw downs and there existed a code of silence so that
officers including Gonzalez would not be held accountable for unconstitutional uses of deadly
force.

The Plaintiff will now set forth his legal argument that a custom and practice in the
Miami police department was the driving force behind the violation of his constitutional rights.
To begin this analysis Plaintiff has attached a copy of two (2) court orders (Exhibits 34 and 35)
wherein a Judge Jose E. Martinez of the U.S. District Court for the Southern District of Florida
denied the City of Miami’s Motion for Summary Judgment and in so doing held that there were
fact questions as to whether the City of Miami had an official custom or policy that mounted to a
deliberate indifference of misconduct of its officers. The orders emanate out of a case known as
Young v. City of Miami, et al, Case No. 99-2944-CIV, US District Court for the Southern District
of Florida. Therein, then Sergeant Israel Gonzalez along with other officers under his charge
shot and killed two (2) citizens. Although the shooting was justified by the Homicide division of
the Miami Police department it was later learned through sworn criminal trial testimony that in
order to justify the shooting, guns were thrown down and thereafter Gonzalez and others
conspired to conform to a blue code of silence.

To begin, the City of Miami has been aware for over twenty (20) years of its pervasive
failures within its Police Department and has done absolutely nothing to rectify these failures.
(See Exhibit 13 herein). As recently as 2003, the U.S. Department of Justice, pursuant to
Federal statutory authority studied the Miami Police Department and its findings are contained in
Exhibit 33. The City of Miami’s failure to rectify these problems within the police department
and its acquiescence to the constitutionally objectionable behavior by its police officers and its
police department and its tacit authorization of the offensive conduct of its police officers

amounts to deliberate indifference which will impose liability under 42 USC §1983 upon a

municipality.

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In City of Los Angeles v. University of California, 885 F.2d 1439 (9" Cir. 1989) the court

observed:

With respect to custom, the Court in Monell asserted that ‘although the
touchstone of the 1983 action against a government body is an allegation
that official policy is reasonable for a deprivation of rights protected by
the Constitution, local governments...by the very terms of the statute, may
be sued for constitutional deprivations visited pursuant to governmental
‘custom’ even though such a custom has not received formal approval
through the body’s official decision-making channels.” Monell, supra 436
U.S. at 690-91, 98 S.Ct. at 2035-36. Consistent with the commonly
understood meaning of custom, proof of random acts or isolated events are
insufficient to establish custom. Palmer v. City of San Antonio, 810 F.2™
514, 516 (5" Cir.1987); Depew v. City of St. Mary's, 787 F.2"4 1496, 1499
(11 Cir.1986). Only if a plaintiff shows his injury resulted from a
“permanent and well-settled” practice may liability attach for injury
resulting from local government custom. See Praprotnik, supra, 108 S.Ct
at 926 (quoting Adickes v. SH. Kress & Co., 398 U.S. 144, 168, 90 S.Ct.
1598, 1614, 26 L.Ed.2d 142 (1970) (‘a plaintiff may be able to prove
existence of a widespread practice that, although not authorized by written
law or express municipal policy, so permanent and well-settled as to
constitute a custom or usage with the force of law’). If such a showing is
made, however, a local government may be liable for its custom
irrespective of whether official policy makers had actual knowledge or the
practice at issue. The existence of the custom as a basis for liability under
1983 thus serves a critical role in insuring that local government entities
are held responsible foe widespread abuses or practices that cannot be
affirmatively attributed to the decisions or ratification of an official
government, policymaker but are so pervasive as to have the force of law.
Id.

The United States Supreme Court held in City of Canton v. Harris, 489 U.S. 378 (1989),
that the deliberate indifference standard governing inadequate training claims logically extends
to related claims of deficient supervision, discipline and remedial action. To establish a
“deliberate or conscious choice” or such “deliberate indifference” the Plaintiff must present some
evidence that the municipality knew of a need to train and/or supervise in a particular area and
made a deliberate choice not to take any action, Board of County Commissioners v. Brown, 520
U.S. 397 (1997). To prove such deliberate indifference the Plaintiff must:

‘*..show that the need for more or better supervision to protect against
constitutional violations was obvious. An obvious need may be
demonstrated through proof of repeated complaints of civil rights
violation; deliberate indifference may be inferred if the complaints are

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filed by no meaningful attempt on the part of the municipality to
investigate or forestall further incidents.” Vann v. City of New York, 72
F.3" 1040, 1049 (N.Y.C.A. 2 1995).

Herein, the signs were obvious that a particular department of the Miami Police

Department (i.¢., Street Narcotics, Crime Suppression and S.W.A.T) were the subject of

 

deficient supervision and training as evidenced by the improper use of deadly force in the cases
pursued by the Federal Government referenced herein.

The Plaintiff has attached as Exhibit 33, Final report of the Grand Jury, Police Use of
Deadly Force. In 1982 as a result of “a number of police shootings which have occurred in a
short time”, a Grand Jury was convened to point out problems and offer solutions. (Exhibit 13, p.
1). The Grand Jury findings were startling. The Grand Jury determined that the City of Miami in
their training programs had “placed entirely too much emphasis upon weapons, use of force in
police training and far too little emphasis on alternatives to the use of force.” (Jd. at 4).

In Turpin v Mailet, 619 F.2d. 201 2" Cir. 1980). The court held:

“For example where senior personnel have knowledge of a pattern of
constitutionally offensive acts by their subordinates but fail to take
remedial steps, the municipality may be held liable for subsequent
violations if the superiors’ inaction amounts to deliberate indifference or
to tacit authorization of the offensive acts.”
In this case one only needs to look at the personnel record of Israel Gonzalez who was
head of the Homicide division that investigated the July 27, 2000 incident involving Mr. Allen to

see that the Defendant City of Miami failed to adequately discipline, supervise or train its

officers.
At his deposition, Defendant Israel Gonzalez, took the Fifth Amendment on most

substantive issues however the following can be said based on sworn testimony. In Plaintiff's
statement of facts the court is referred to the trial testimony of William Hames and John
Mervolion who testified that Israel Gonzalez was a sergeant in charge of the street narcotics unit
on the night Wiltshire and Young were killed. Gonzalez seemed to head up a meeting with all
the officers involved in the shooting where a conspiracy was formulated. Israel Gonzalez despite
a shocking number of complaints and disciplines later became promoted to the Assistant to the
Chief of Police overseeing the disciplinary review board and eventually became a lieutenant in

charge of the Homicide division. As Gonzalez was being promoted he took with him the

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knowledge of the careers of many undercover officers including the aforementioned Hames and
Mervolion, Art Beguiristain, Jose Garcia and Jesus Aguero, his co-conspirators in the I-395
shooting. Gonzalez himself was the subject of 38 internal investigations. (See Exhibit 21 and
21a herein). As Sergeant in charge of the street narcotics unit on the night of the Wiltshire and
Young shootings and thereafter having been promoted Gonzalez knew or should have known
that: Mervolion was the subject of six Internal Affairs investigations with one in response to
alleged abusive treatment and/or excessive force; Hames was the subject of five Internal Affairs
investigations -- three were in response to allegations of excessive force; that between 1983 and
1995, Beguiristain was the subject of seven Internal Affairs investigations four of the seven were
in response to allegations of excessive force; that Jose Garcia was the subject of nine Internal
Affairs investigations four of which concerned allegations of excessive force and Jesus Aguero
was the subject of nineteen Internal Affairs investigations nine of which were in response to
allegations of excessive force. (See Exhibit 32).

It is important to note that the validity of the claims is irrelevant. The vast number of
complaints against the officers is enough to put the City of Miami on notice that there was a
possibility that its officers were illegally using force. See, Ricciuti v. N.Y.C. Transit Authority,
941 F.2d 119 (N.Y.C.A. 2 1991). The Plaintiff presents evidence to this Court showing a
widespread, persistent pattern of misconduct existed within the City of Miami police department.
In Barreto-Rivera v. Medina Vargas, 168 F.3d 42 (1* Cir. 1999), the First Circuit Court of
Appeals held that allowing a police officer to remain on the job who had been disciplined
multiple times’; who stayed on the job despite recommendations to fire him*; and his behavior
did not change in spite of sanctions, amounted to deliberate indifference.

The idea of covering up police officer involved shootings was so widespread that it had
its own code language. The testimony of Hames and Mervolion confirms that if a thrown down
is needed to call ‘Pepe’ (aka Jose Quintero) who would then be asked to bring ‘the sock’. See
Plaintiff's Fact section, para. 36-37, herein.

From a fact standpoint the Plaintiff has brought to the Court’s attention the so-called
“Coconut Grove” shooting which involved the shooting of an unarmed man by Miami police and

then the planting of a gun by Miami police officers to justify the shooting. This case was

 

> Gonzalez was often disciplined yet promoted to the highest levels within the City of Miami police department.
* Tapanes was recommended to be terminated by the Firearms Advisory Board but stayed on the job nonetheless.

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investigated by the homicide department and found to be a justified police officer involved
shooting. The Plaintiff has also factually brought to the Court’s attention the so-called “43”
Street” shooting where again Miami police officers planted a gun at the scene of a shooting.
Defendant herein Gonzalez and others were found guilty of obstruction of justice, conspiracy to
obstruct justice and perjury at the so called “I-395” shooting where throw down guns were
planted on scene. The Plaintiff has factually brought to this Court other shocking facts of
outrageous conduct by Miami police officers. It is Plaintiff's position that these incidents as well
as the shooting of David Allen and the subsequent cover up show a common design and support
an inference that there was municipal tolerance of this practice. In Carter _v. District of
Columbia, 795 F.2"4 116 (D.C. Cir. 1986) the Court therein held: “Egregious instances of
misconduct, relatively few in number but following a common design, may support an inference
that the instances would not occur but for municipal tolerance of the practice in question.” (p.
124). Likewise in Bennett v City of Sidell, 728 F.2"4 762 (1984), the Court held:

“Sufficient duration or frequency of abusive practices or other evidence
must warrant a finding of knowledge on the part of the governing body
that the objectionable conduct has become customary practice of city
employees. Where the violations are flagrant or severe, the fact finder will
likely require a shorter pattern of conduct to be satisfied that diligent
governing body members would necessarily have learned of the
objectionable practice and acceded to its continuation. Knowledge of a
continuing practice of City employees may be attributed to the governing
body in one of two ways. Actual knowledge may be shown by such
means as discussions at counsel meetings or receipt of written
information. Constructive knowledge may be attributed to the governing
body on the ground that it would have known of violations if it had
properly exercised its responsibility, as, for example, where violations
were so persistent and widespread that they were subject of prolonged
public discussion or a high degree of publicity.” /d. at 768.

Herein, the City of Miami had actual knowledge of the abuses of force (Grand Jury
Report, 1982), in 2001 and 2003 (the federal indictment and subsequent conviction) and again in
2003 (the Justice Department study). The Plaintiff argues that Israel Gonzalez had actual
knowledge as head of the unit that investigated the David Allen shooting that investigations can
be conducted in such a way as to improperly justify the police officer involved shootings.

It is the position of Plaintiff that Gonzalez as head of the homicide division charged with

the responsibility of investigating all police officer involved shootings back in the year 2000 had

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actual knowledge of the so called code of silence evidenced by his conspiratorial conduct which
ultimately lead to his conviction for obstruction of justice, conspiracy to obstruct justice and
perjury.

In Bordinaro v. McCloud, 871 F.2d 1151 (1* Cir. 1989), the court held that:

“Where other evidence of a policy has been presented and the single
incident in question involved the considered action of a large contingent of
Municipal employees, the event itself provides some proffer of the
existence of the underlying policy or custom.” /d. at 1157.

Bordinaro, supra, also stands for the proposition that:

“constructive knowledge ‘may be evidenced by the fact that practices have
been so widespread or flagrant and in the proper exercise of official
responsibilities the municipal policy maker should have known of them.”
Jd. at 1157.

The Plaintiff will also present expert testimony regarding the police misconduct at issue.
Expert testimony is an appropriate means of presenting evidence of the liability of the city and/or
its policy makers. Larez vy. City of Los Angeles, 946 F.2d 630 (1991). The Court is referred to
the affidavit of police liability expert Dr. George Kirkham which is attached hereto as Exhibit 36
and incorporated herein by reference. The Court is also referred to the March 13, 2003, letter
from the U.S. Department of Justice to the Miami City Attorney wherein an investigation
undertaken pursuant to federal statute revealed that many aspects of Miami’s interdepartmental
orders are deficient. Since this report is a public record done pursuant to statute it is completely
admissible for the Court to review in this motion and at the time of trial. (See, Federal Rules of
Evidence Rule 803.8). These deficiencies are set forth in Dr Kirkham’s affidavits as he will
testify to these deficiencies at the time of trial.

The Court is next referred to the case of Kerr v. City of West Palm Beach, 875 F.2d 1546
(1989). Therein the Eleventh Circuit Court of Appeals held:

“On the other hand if there is substantial evidence opposed to the motions,
that is, evidence of such equality and weight that reasonable and fair
minded men in the exercise of impartial judgment might reach different
conclusions, motions should be denied.” /d. at 1555.

After making that general statement regarding the standard for dismissal of a case for
failure to train and/or supervise the court went on discuss City of Canton v Harris, 489 U.S. 378,

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109 S.Ct 1197 103, L.Ed 2d 412 (1989). In reversing the lower court the Kerr, supra, court
looked at evidence amazingly similar to the instant matter. Although the subject in Kerr, supra,
was training for a canine unit it was an issue of training nonetheless. Herein we have a
statutorily authorized investigation by the US Government which is addressed in the attached
affidavit of Dr George Kirkham specifically referencing all the failings in the City of Miami’s
formal policy and procedure regarding use of force, supervising and training officers.

The Kerr court went on to acknowledge:

“For example city policy makers know to a moral certainty that their
police officers will be required arrest fleeing felons. The city has armed
its police officers with firearms; in part to allow them to accomplish this
task. Thus the need to train officers in the constitutional limitations on the
use of deadly force (see Tennessee v. Garner, 471 U.S. 1, 105 S.Ct. 1694,
85 L.Ed.2d 1 (1985)), can be said to be “so obvious” that the failure to do
so could properly be characterized as “deliberate indifference” to
constitutional rights. It could also be that the police, in exercising their
discretion so often violate constitutional rights that the need for further
training must have been plainly obvious to the city policy makers that
nevertheless are “deliberately indifferent” to the need. Jd at n. 10, 109
S.Ct. at 1205 n. 10. After considering all the circumstantial evidence we
believe that a reasonable jury, could have so concluded, finding the
unconstitutional character of many canine unit apprehensions was plainly
obvious to the city officials, who then deliberately chose not to take
corrective action”. Jd. at 1556.

Herein, Plaintiff argues that the abuses regarding police officer involved shootings, the
illegal, unreported confiscations of firearms to be later used as ‘throw downs’, the factual
testimony regarding the code of silence within the Miami police department, the incidence of
proven cover-ups, the horrific professional records of many of the officers involved in police
officer involved shootings including Gonzalez, Tapanes and other officers under Gonzalez
charge as well as the planting of a weapon herein, shows a pattern of behavior and a custom so
deeply ingrained in the Miami police department that it indeed had the force of law.

In Depew _v. The City of St. Mary's, Georgia, 787 F.2d 1496 (1 1" Cir.1986), the court
acknowledged that the City provided rules and regulations but despite knowledge of improper
police conduct the city took no remedial action therefore the policy or custom became actionable
under section 1983. Herein we have exactly the same situation. In 1982, the City of Miami in a

Grand Jury report was advised of abuses. According to the sworn testimony of Expert witness

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Alphert the City went on a bad hiring spree which fostered many bad officers and bad practices.
Then the City was made aware of the high profile government prosecution of 11 of its officers
but did noting to take remedial action as evidenced by 2003 investigation by the US Justice
Department referenced herein as Exhibit 33.

The Depew, supra, court held:

“The continued failure of the city to prevent known constitutional
violations by its police force is precisely the type of informal policy or
custom that is actionable under section 1983”. Jd. at 1499.

Plaintiff will now specifically address arguments and misstatements made in the City’s
Statement of Facts and Memorandum of Law. First of all the Plaintiff would like to point out
that the court allowed discovery to proceed against City of Miami and all defendants except
Camacho, since Camacho’s case was on appeal. The City of Miami now attaches the affidavit of
Pablo Camacho in support of Defendants motion; Plaintiff argues that this is patently unfair.

The Plaintiff admits that the City of Miami has departmental orders. Plaintiff does not
deny that police officers go through police academy training and in-service training. Where
there are substantia] and material fact questions for jury resolution involve whether the
departmental orders are constitutionally sufficient, not outdated and allow for proper training and
supervision. This is where there will be factual disputes and material issues for jury resolution.

Defendant argues that the state attorney’s office controls police officer involved
shootings. This is contrary to the sworn testimony of Gonzalez and Andreu. The homicide
division investigates police officer involved shootings. Defendant argued that the Defendants
had probable cause to arrest the Plaintiff for exposure of his genitals however the Nelson Andreu
report (Exhibit 4) reflects that no one ever saw Plaintiff's genitals.

Finally the Defendant asserts that the Plaintiff has not pled constitutional violations
against the City of Miami. The court is respectfully reminded that the Plaintiff is before this
Court pursuant to Monell, supra, which provides for a federal cause of action under a 42 USC
§1983 based on a municipality’s custom or practice. Plaintiff has clearly pled in paragraphs 59
and 60 that there was a custom and practice within the City of Miami which was the driving

force behind the violation of Plaintiff's civil rights.

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Next, the City of Miami argues that the fact that there was a cover-up including filing
false police reports the subornation of perjury cannot serve as the basis for the violation of
Plaintiff's Constitutional rights. It is the cover up in the David Allen case taken together with the
previous cover-ups that resulted in federal convictions that show it is the custom and practice
that was the driving force behind the violation of Plaintiff's constitutional rights.

The Plaintiff will now address its negligence claims against the City of Miami. The City
is trying to argue is that it can never by liable for the negligence of its employees, which of
course, is simply not the case. The Court is directed to the case of Maybin v. Thompson, 514
So.2d 1129. Therein, the Plaintiff sued on claims of assault, battery, false arrest and
imprisonment. In pertinent part the court held:

“The legislature has relieved municipalities of liability for the tortuous
actions of employees only when the employees acts or omissions are
committed “outside the course and scope of his employment or committed
in bad faith or with malicious purpose or in a manner exhibiting wanton
and willful disregard for human rights, safety of property”... nor do we
believe that a government is never liable for the intentional torts of
employees. In Hennigan v. Department of Highway Safety and Motor
Vehicles, 467 So.2d 748 (Fla. 1° D.C.A. 1985) the court held that
sovereign immunity does not par claims for tortuous acts that arise from
an officer’s conduct during and after an arrest. In Richardson v. City of
Pompano Beach, 511 So.2d 1121 (Fla. 4" D.C.A. 1987), the court held
that a city may be liable for the intentional torts of a police officer
committed during arrest and detention.”

The Court is also directed to Farabee v. Rider, 995 F.Supp. 1398, wherein the court held

that:

“The Florida Supreme Court has determined that law enforcement has a
duty of care to protect detainees from personal harm. See Johnson v.
Cannon, 947 F.Supp. 1567 citing Kaisner v. Kold, 543 So.2d 732, 734
(Fla. 1989). (When an individual is detained or placed in custody he is
owed a common law duty of care.)”

In conclusion the court is advised that in an attempt to take his freedom away the State
brought charges against the Plaintiff for assault with a deadly weapon based on the City’s
investigation. A jury of his peers acquitted Mr. Allen and obviously did not accept the testimony
of Officer Tapanes. See Exhibit 9. Not only did the City of Miami try to take away Mr. Allen’s

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freedom, the gunshot wound caused a permanent and debilitating injury to Mr. Allen which has
disabled him from his occupation as a construction ironworker.

The Plaintiff will prove that for over twenty (20) years the City has tolerated the abuses
of its officers. Herein, the City of Miami was advised by the Firearms Advisory Board (See
Exhibit 14 that Tapanes should be terminated, but the recommendation was not followed.
Instead, the City continues to employ Tapanes as a police officer but is not providing him a
defense or indemnification for this claim.

The Plaintiff presents this Court with a plethora of material fact questions that preclude
summary judgment regarding the §1983 claim, including, but not limited to whether the City has
an official custom or policy that amounted to deliberate indifference of the misconduct of its

officers.
CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
by U.S. Mail to Jorge L. Fernandez, City Attorney and Henry J. Hunnefeld, Assistant City
Attorney, 945 Miami Riverside Center 444 S.W. ond Avenue, Miami, FL 33130 and Ronald J.
Cohen, Esquire, Andrew Jackson Building 8100 Oak Lane, Suite 403 Miami Lakes, FL 33016 on
March 11, 2005.

 

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UNITED STATES DISTRICT COURT SOUTHERN
DISTRICT OF FLORIDA

caseno. 0723-21063 cv Cm AR

 

ATTACHMENT TO/OR DOCKET ENTRY #

 

NOT SCANNED

VOLUMINOUS (exceeds 999 pages = 4 inches)
O BOUND EXTRADITION PAPERS
O ADMINISTRATIVE RECORD (Social Security)
O STATE COURT RECORD (Habeas Cases)
O SOUTHERN DISTRICT TRANSCRIPTS
O LEGAL SIZE
O DOUBLE SIDED
O PHOTOGRAPHS
O POOR QUALITY (ie. hand written, legal size, light print, etc.)
O SURETY BOND original or letter of undertaking)

O OTHER

 

PLEASE REFER TO COURT FILE
